     Case 1:21-cr-00265-PKC Document 221 Filed 05/22/23 Page 1 of 3 PageID #: 2271

DOCKET NUMBER: 21-cr-265 (PKC)

                  CRIMINAL CAUSE FOR Jury Selection

BEFORE CHERYL L. POLLAK, U.S.M.J.               DATE:      5/22/2023     TIME IN COURT:

DEFENDANT’S NAME: Michael McMahon, Yong Zhu, Congying
                  Zheng
x   Present              Not Present             Custody                         x      Not Custody

DEFENSE COUNSEL:            Lawrence Lustberg, Genna Conti (McMahon);
                            Kevin Tung (Zhu);
                            Paul Goldberger, Renee Wong (Zheng)
      Federal Defender             CJA        x     Retained

A.U.S.A.: Craig Heeran, Meredith Arfa,             PRETRIAL/PROBATION: n/a
          Christine Bonomo, Irisa Chen,
          Christopher Bruno

X   COURT REPORTER                 ESR OPERATOR           Michelle Lucchese          LOG: 9:24am–5:30
                                                                                          pm

INTERPRETER: Una Wilkinson, Jianhung Mai                   LANGUAGE: Mandarin

     Arraignment                                           Revocation of Probation – non-contested
     Change of Plea Hearing (~Util-Plea Entered)           Revocation of Probation – contested
     In Chambers Conference                                Sentencing – non-evidentiary
     Pre-Trial Conference                                  Sentencing – contested
     Initial Appearance                                    Revocation of Supervised Rel. – evidentiary
     Status Conference                                     Revocation of Supervised Rel. – non-evidentiary
     Telephone Conference                                  Voir Dire Begun
x    Jury Selection                                        Voir Dire Held
     Motion Hearing – evidentiary
     Other Hearing:

     Case called
     Defendant:                Sworn                   Informed of Rights
     Defendant consents to have plea taken by a U.S. Magistrate Judge after being advised of the right to
     have the plea taken before a U.S. District Judge.
     Waiver of Indictment Executed
     Defendant Withdraws Not Guilty Plea and Enters Plea of Guilty as Stated on the Record
     Court Finds Factual Basis for the Plea
     Sentencing Set for:
     Based on the proceedings held in open court, it is respectfully recommended that the Court: (1) find
     that the plea of guilty was made knowingly, and is voluntary and uncoerced; (2) find that there is a
     factual basis for the plea; and (3) accept the plea.
     Order of Excludable Delay Entered:        From                       To
     Order of Temporary Detention Entered

                                                   TEXT
       Case 1:21-cr-00265-PKC Document 221 Filed 05/22/23 Page 2 of 3 PageID #: 2272

AUSA’s Craig Heeran, Meredith Arfa, Irisa Chen, Trial Attorney Christine Bonomo, Special Agent Christopher
Bruno, and Paralegal Mary-Clare McMahon present for the government. Attorneys Lawrence Lustberg and
Genna Conti for defendant McMahon; attorneys Paul Goldberger and Renee Wong for defendant Zheng;
attorney Kevin Tung for defendant Zhu. Interpreters sworn. Defendants present. Defendants consent to jury
selection by Magistrate Judge. Jurors sworn. Voir Dire to be continued 5/23/23.
     Case 1:21-cr-00265-PKC Document 221 Filed 05/22/23 Page 3 of 3 PageID #: 2273


UTILITIES
     ~Util-Plea Entered                        ~Util-Add/Terminate Attorneys
     ~Util-Exparte Matter                      ~Util-Terminate Parties
     ~Util-Set/Reset Deadlines                 ~Util-Indictment Unsealed
     ~Util-Set/Reset Hearings                  ~Util-Information Unsealed
     ~Util-Set/Reset Deadlines/Hearings        ~Util-Bond Set/Reset
     ~Util-Terminate Motions                   ~Util-Set/Reset Mot./R&R Deadlines/Hearings
